             Case 17-06117-5-SWH                            Doc 3 Filed 12/15/17 Entered 12/15/17 17:57:51                               Page 1 of 9



Fill in this information to identify your case:


Debtor 1                    Tracy Jerome Frink
                  __________________________________________________________________
                    First Name                Middle Name              Last Name



                      Sharon Noris Frink                                                                                             Check if this is an amended
Debtor 2            ________________________________________________________________
                                                                                                                                     plan, and list below the
(Spouse, if filing) First Name                Middle Name              Last Name
                                                                                                                                     sections of the plan that have
                                                                                                                                     been changed.
                                           Eastern                           NC
United States Bankruptcy Court for the: ______________________ District of ______________                                        _________________________________
                                                                             (State)
                                                                                                                                 _________________________________
Case number         ___________________________________________
(If known)




 Official Form 113
 Chapter 13 Plan                                                                                                                                              12/17


   Part 1:         Notices

 To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

 To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                        be ineffective if set out later in the plan.


   1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                      Included             Not included
             payment or no payment at all to the secured creditor

   1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                       Included             Not included
             Section 3.4

   1.3       Nonstandard provisions, set out in Part 8                                                                            Included             Not included



 Part 2:           Plan Payments and Length of Plan

 2.1 Debtor(s) will make regular payments to the trustee as follows:

            $1,140.00                   Month            60
          $ ___________              per_______      for _____ months
          [and $ ___________ per_______              for _____    months.] Insert additional lines if needed.

          If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
          payments to creditors specified in this plan.



 Official Form 113                                             Chapter 13 Plan                                                                                Page 1
        Case 17-06117-5-SWH
       Tracy Jerome and Sharon Norris Frink
                                                  Doc 3 Filed 12/15/17 Entered 12/15/17 17:57:51                                     Page 2 of 9
Debtor ___________________________________________________________________________                     Case number ___________________________


2.2 Regular payments to the trustee will be made from future income in the following manner:

     Check all that apply.
           Debtor(s) will make payments pursuant to a payroll deduction order.
           Debtor(s) will make payments directly to the trustee.
           Other (specify method of payment):____________________________.
2.3 Income tax refunds.

     Check one.
           Debtor(s) will retain any income tax refunds received during the plan term.
           Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
           turn over to the trustee all income tax refunds received during the plan term.
           Debtor(s) will treat income tax refunds as follows:
           ____________________________________________________________________________________________________
           ____________________________________________________________________________________________________
2.4 Additional payments.

     Check one.
           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
           Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
           and date of each anticipated payment.
           ___________________________________________________________________________________________________________
           ___________________________________________________________________________________________________________

                                                                                              $68,400.00
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ __________________.


Part 3::      Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.

     Check one.
           None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

           The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
           the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
           directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
           trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
           filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
           arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
           is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
           paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
           column includes only payments disbursed by the trustee rather than by the debtor(s).



           Name of creditor                    Collateral          Current installment     Amount of          Interest rate on Monthly plan        Estimated total
                                                                   payment                 arrearage (if      arrearage        payment on          payments by
                                                                   (including escrow )     any)               (if applicable)  arrearage           trustee

            Quicken Loans                        House               $1,748.00                0.00
            _________________                    ____________       $___________             $___________      _______%          $___________      $____________
                                                                    Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)


            Shearton Flex Vacations              Time Share          138.00
                                                                    $___________             $___________      _______%          $___________      $____________
            _________________                    ____________
                                                                    Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)

           Insert additional claims as needed.


Official Form 113                                      Chapter 13 Plan                                                                                   Page 2
        Case 17-06117-5-SWH Doc 3 Filed 12/15/17 Entered 12/15/17 17:57:51 Page 3 of 9
        Tracy Jerome and Sharon Norris Frink
Debtor ___________________________________________________________________________
                                                          Case number ___________________________


 3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
        The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
          listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
          claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
          claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
          the secured claim will be paid in full with interest at the rate stated below.

          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
          plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
          as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
          proof of claim controls over any contrary amounts listed in this paragraph.

          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
          of the debtor(s) or the estate(s) until the earlier of:
          (a)   payment of the underlying debt determined under nonbankruptcy law, or
          (b)   discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

          Name of creditor         Estimated amount Collateral           Value of      Amount of        Amount of          Interest Monthly         Estimated total
                                   of creditor’s total                   collateral    claims senior to secured claim      rate     payment to      of monthly
                                   claim                                               creditor’s claim                             creditor        payments

    Marine Federal Credit Union      38,887.00     2013 Lexus GS 350       28,660.00                       28,660.00                  515.00          60
           _____________            $_______            __________        $______    $_______             $______         ___%       $_______        $_______


   Marine Federal Credit Union      37,448.00 2014 GMC Sierra 1500 23,420.00                               23,420.00                  425.00          60
           _____________             $_______       __________     $______   $_______                     $______         ___%       $_______        $_______


          Insert additional claims as needed.
3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.
          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

          The claims listed below were either:

         (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
             personal use of the debtor(s), or

         (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

         These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
         directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
         filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
         claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).



          Name of creditor                              Collateral                     Amount of claim Interest         Monthly plan      Estimated total
                                                                                                       rate             payment           payments by trustee

           ______________________________                ______________________        $___________         _____%       $________        $_________________
                                                                                                                        Disbursed by:
                                                                                                                            Trustee
                                                                                                                            Debtor(s)

           ______________________________                ______________________        $___________         _____%       $________        $_________________
                                                                                                                        Disbursed by:
                                                                                                                            Trustee
                                                                                                                            Debtor(s)
         Insert additional claims as needed.




Official Form 113                                     Chapter 13 Plan                                                                                   Page 3
        Case
        Tracy17-06117-5-SWH
              Jerome and SharonDoc 3 Frink
                                Norris Filed 12/15/17 Entered 12/15/17 17:57:51 Page 4 of 9
Debtor ___________________________________________________________________________
                                                               Case number ___________________________

3.4 Lien avoidance.

    Check one.
         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
          debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
          securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
          amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
          amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
          § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.


            Information regarding judicial          Calculation of lien avoidance                                        Treatment of remaining
            lien or security interest                                                                                    secured claim

                                                 a. Amount of lien                                   $______________     Amount of secured claim after
            Name of creditor
                                                                                                                         avoidance (line a minus line f)
                                                                                                                         $_______________________
            __________________                   b. Amount of all other liens                        $______________


            Collateral                           c. Value of claimed exemptions                  + $______________       Interest rate (if applicable)


                                                 d. Total of adding lines a, b, and c                $______________       _____ %
            __________________

                                                                                                                         Monthly payment on secured
            Lien identification (such as         e. Value of debtor(s)’ interest in
                                                                                                 − $______________       claim
            judgment date, date of lien             property
                                                                                                                         $_______________________
            recording, book and page number)


            __________________                                                                                           Estimated total payments on
                                                 f. Subtract line e from line d.                     $______________     secured claim
            __________________                                                                                           $_______________________


                                                    Extent of exemption impairment
                                                    (Check applicable box):
                                                        Line f is equal to or greater than line a.

                                                        The entire lien is avoided. (Do not complete the next column.)
                                                        Line f is less than line a.

                                                        A portion of the lien is avoided. (Complete the next column.)

        Insert additional claims as needed.




3.5 Surrender of collateral.

    Check one.
          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

          The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
          upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
          be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.


            Name of creditor                                                                      Collateral

           ______________________________________________________                                    _____________________________________________

          ______________________________________________________                                     _____________________________________________


         Insert additional claims as needed.


Official Form 113                                      Chapter 13 Plan                                                                                   Page 4
       CaseJerome
      Tracy 17-06117-5-SWH   Doc 3 Frink
                  and Sharon Norris Filed 12/15/17 Entered 12/15/17 17:57:51 Page 5 of 9
Debtor ___________________________________________________________________________
                                                            Case number ___________________________


Part 4:     Treatment of Fees and Priority Claims

4.1 General

    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
    postpetition interest.

4.2 Trustee’s fees
                                                                                                                       7
     Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be ________% of plan payments; and
     during the plan term, they are estimated to total $___________.


4.3 Attorney’s fees
                                                                                        1,000.00
     The balance of the fees owed to the attorney for the debtor(s) is estimated to be $___________.


4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

     Check one.
          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

          The debtor(s) estimate the total amount of other priority claims to be _____________.


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

     Check one.
          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

           The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
           governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
           requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).




            Name of creditor                                                                                             Amount of claim to be paid


              _______________________________________________________________________________                             $__________________________


              _______________________________________________________________________________                             $__________________________

           Insert additional claims as needed.

Part 5:     Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
     providing the largest payment will be effective. Check all that apply.

            The sum of $___________.
                        75,437.00

             _______%
                   5 of the total amount of these claims, an estimated payment of $_________.
                                                                                    125.00

            The funds remaining after disbursements have been made to all other creditors provided for in this plan.
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $__________.
           Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.




Official Form 113                                    Chapter 13 Plan                                                                                   Page 5
        Case 17-06117-5-SWH
          Tracy                DocNorris
                Jerome and Sharon  3 Filed   12/15/17 Entered 12/15/17 17:57:51 Page 6 of 9
                                         Frink
Debtor ___________________________________________________________________________
                                                               Case number ___________________________



5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

            None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

            The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
            on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
            debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
            The final column includes only payments disbursed by the trustee rather than by the debtor(s).


              Name of creditor                                                    Current installment        Amount of arrearage             Estimated total
                                                                                  payment                    to be paid                      payments by
                                                                                                                                             trustee

              __________________________________________________                   $___________               $______________                $____________

                                                                                   Disbursed by:
                                                                                       Trustee
                                                                                        Debtor(s)

              __________________________________________________                   $___________               $______________                $____________

                                                                                   Disbursed by:
                                                                                       Trustee
                                                                                        Debtor(s)
           Insert additional claims as needed.



5.3 Other separately classified nonpriority unsecured claims. Check one.

          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

          The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows



              Name of creditor                              Basis for separate classification       Amount to be paid      Interest rate         Estimated total
                                                            and treatment                           on the claim           (if applicable)       amount of
                                                                                                                                                 payments

               _______________________________               ____________________________            $_____________         ______%              $__________


               _______________________________               ____________________________            $_____________         ______%              $__________


             Insert additional claims as needed.



Part 6:       Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
     and unexpired leases are rejected. Check one.

          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

          Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
          to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
          by the trustee rather than by the debtor(s).




Official Form 113                                     Chapter 13 Plan                                                                                     Page 6
        Case 17-06117-5-SWH
          Tracy                DocNorris
                Jerome and Sharon  3 Filed  12/15/17 Entered 12/15/17 17:57:51 Page 7 of 9
                                         Frink
Debtor ___________________________________________________________________________
                                                              Case number ___________________________


           Name of creditor                 Description of leased    Current installment    Amount of      Treatment of arrearage   Estimated total
                                            property or executory    payment                arrearage to                            payments by
                                            contract                                        be paid        (Refer to other plan     trustee
                                                                                                           section if applicable)

            ____________________             __________________      $___________           $__________     __________________       $__________
                                                                     Disbursed by:
                                                                                                            __________________
                                                                         Trustee
                                                                         Debtor(s)

            ____________________             __________________      $___________           $__________     __________________       $__________
                                                                     Disbursed by:
                                                                                                            __________________
                                                                         Trustee
                                                                         Debtor(s)

          Insert additional contracts or leases as needed.




Part 7:       Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
     Check the applicable box:

           plan confirmation.
           entry of discharge.
           other: ____________________________________________.



Part 8:       Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

    _____________________________________________________________________________________________________________

    _____________________________________________________________________________________________________________

    _____________________________________________________________________________________________________________

    _____________________________________________________________________________________________________________

    _____________________________________________________________________________________________________________




Official Form 113                                     Chapter 13 Plan                                                                         Page 7
        CaseTracy
             17-06117-5-SWH    Doc 3Norris
                  Jerome and Sharon  FiledFrink
                                           12/15/17 Entered 12/15/17 17:57:51 Page 8 of 9
Debtor ___________________________________________________________________________
                                                             Case number ___________________________




Part 9:      Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.

          s/ Tracy Jerome Frink                                            s/ Sharon Norris Frink
      _________________________________________                        _________________________________________
      Signature of Debtor 1                                            Signature of Debtor 2

                     12/13/2017
      Executed on _________________                                                    12/13/2017
                                                                       Executed on __________________
                    MM / DD / YYYY                                                 MM / DD / YYYY




        s/ William T. Batchelor II                                       12/13 /2017
      _________________________________________                Date    _________________
      Signature of Attorney for Debtor(s)                               MM / DD / YYYY



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




Official Form 113                                    Chapter 13 Plan                                                                               Page 8
        Case 17-06117-5-SWH                    Doc 3 Filed 12/15/17 Entered 12/15/17 17:57:51                           Page 9 of 9



Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.
                                                                                                          0
a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                         $______________

                                                                                                          940.00
b.   Modified secured claims (Part 3, Section 3.2 total)                                                 $______________

c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                             0
                                                                                                         $______________

                                                                                                          0
d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                  $______________

e.   Fees and priority claims (Part 4 total)                                                              75.00
                                                                                                         $______________

                                                                                                          125.00
f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                           $______________

                                                                                                          0
g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                       $______________

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                   0
                                                                                                         $______________

                                                                                                          0
i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)            $______________

j.   Nonstandard payments (Part 8, total)                                                           +     0
                                                                                                         $______________


     Total of lines a through j                                                                           1,140.00
                                                                                                         $_______________




Official Form 113                                     Chapter 13 Plan – Exhibit                                                          Page 1
